                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION

                                    DOCKET NO. 1:06CR250

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )             PRELIMINARY ORDER
                 v.                               )               OF FORFEITURE
                                                  )
(5) ARSENIO FLORES                                )
(2) ERCULANO CASTRO-CAZAREZ                       )
                                                  )
                       Defendants.                )
                                                  )
                                                  )

       As a result of the guilty pleas of both defendants to the violations stated in the Bill of

Indictment, for which the United States sought forfeiture pursuant to 21 U.S.C. § 853, the

defendants shall forfeit to the United States all property constituting or derived from any

proceeds the defendants obtained, directly or indirectly, as a result of such violations; and/or all

property used or intended to be used in any manner or part to commit or facilitate the

commission of the violations.

       IT IS, THEREFORE, ORDERED that a preliminary order of forfeiture be entered as to

the following:

       1.        $8181 in United States currency seized on November 9, 2004,

       2.        a 2006 Suzuki GSXR-1000 motorcycle VIN JSTGT76AX621207174,

       3.        $204,081 in United States currency seized on September 15, 2006.

       The Attorney General is authorized to seize the property subject to forfeiture and to



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commence proceedings that comply with any statutes governing third party rights. Fed. R. Crim.

P. 32.2(b)(3).

        Pursuant to 21 U.S.C. § 853(n)(1) and Standing Order of the Court 3:05MC302-C

(September 8, 2005), the government shall publish once in The Hendersonville Time News,

Hendersonville, Henderson County, North Carolina, a newspaper of general circulation, notice of

this order and of its intent to dispose of the property in such manner as the United States may

direct. The United States may also provide direct written notice to any person known to have

alleged an interest in property that is the subject of this order of forfeiture.

        Any person, other than the defendants, having or claiming a legal interest in any of the

above-listed forfeited property may, within thirty days of the final publication of notice or of

receipt of actual notice, whichever is earlier, petition the Court for a hearing without a jury to

adjudicate the validity of the petitioner’s alleged interest in the property. The petition shall be

signed by the petitioner under penalty of perjury and shall set forth the nature and extent of the

petitioner’s right, title or interest in each of the forfeited properties; the time and circumstances

of the petitioner’s acquisition of the right , title, or interest in the property; and any additional

facts supporting the petitioner’s claim and the relief sought. 21 U.S.C. §§ 853(n)(2) and (3).

        Upon adjudication of third-party interests, if any, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C. § 853(n) and Fed. R. Crim. P. 32(c)(2) and it shall be made part

of the sentence and included in the judgment.

        The Court shall retain jurisdiction to enforce this Order and to amend it as necessary,

pursuant to Fed. R. Crim. P. 32.2(e).




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                                Signed: February 14, 2007




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